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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

 

 

 

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UNITED STATES OF AMERICA : $2 19cr463-03 (DLC)
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JOSE BARZ, USDC SDNY
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defendant . |, DOCUMENT
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DENISE COTE, District Judge: | DATE FILED: JQ 2922 2o2©

 

The Court having been informed that the defendant requests
that a change of plea hearing be scheduled and that the
defendant prefers that the hearing occur via videoconferencing
proceeding, it is hereby

ORDERED that a change of plea hearing is scheduled for
October 30, 2020 at 11 a.m. and shail proceed via the Skype for
Business videoconference, if the Skype for Business platform is
reasonably available. To access the conference, paste the
following link into your browser:

https://meet.lync.com/fedcourts-nysd/anthony sampson/2P3DO0CFU.

 

To use this link, you may need to download software to use

 

Skype’s videoconferencing features.! Participants are directed
to test their videoconference setup in advance of the conference

-- including their ability to access the link above. Defense

 

1 See Microsoft, Install Skype for Business (last visited Apr.
29, 2020), https://support.office.com/en-us/articie/install-
skype-for-business—-8a0d4da8-9d58-44£9-9759-5c8f340cb3fb.

 

 

 
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counsel shall assist the defendant in testing his
videoconference capability so that the defendant can participate
by videoconference if that is feasible.

Users who do not have an Office 365 account may use the
“Join as Guest” option. When you successfully access the link,
you will be placed in a “virtual lobby” until the conference
begins. Participants should also ensure that their webcam,
microphone, and headset or speakers are all properly configured
to work with Skype for Business. For further instructions
concerning Skype for Business and general guidelines for
participation in video and teleconferencing, visit https://
nysd.uscourts. gov/covid-19-coronavirus.

If you intend to join the conference from an Apple device,
you should ensure that you are running a version of Skype for
Business that was published on or after April 28, 2020.% Users
running earlier versions have encountered an issue in which
Skype for Business does not receive any inputs from the
computer’s microphone, and they cannot be heard by other
participants.

IT IS FURTHER ORDERED that members of the press, public, or

counsel who are unable to successfully access Skype for

 

2 See, e.g., Microsoft, Skype for Business on Mac (last visited
May 5, 2020), https://www.microsoft.com/en-us/download/
details.aspx?id=54108.

 

 

 
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Business, may access the conference audio using the following

credentials:
Call-in number: 4+191793327166
Conference ID: 631606520

IT IS FURTHER ORDERED that by Friday, October 23, 2020,
defense counsel shall file a letter informing the Court whether
counsel and the defendant have successfully tested Skype for
Business. If the defendant and counsel are unable to
successfully test Skype for Business, an Order will issue
informing the parties whether the sentencing shali be
rescheduled to occur in person.

Dated: New York, New York
October 16, 2020

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United stdves District Judge

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